                                                                      ORDER:
                                                                      Motion granted.
                                                                      The Arraignment is
                 UNITED STATES DISTRICT COURT                         reset to September 4,
             FOR THE MIDDLE DISTRICT OF TENNESSEE                     2012, at 10:30 a.m.
                      NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )                 U.S. Magistrate Judge
                                           ) No: 3:11-00194
           v.                              )
                                           ) JUDGE CAMPBELL
                                           ) MAGISTRATE KNOWLES
MONIQUE SMITH                              )


              MONIQUE SMITH’S MOTION TO CONTINUE
     ARRAIGNMENT HEARING ON THIRD SUPERSEDING INDICTMENT

       Defendant,     Monique       Smith     (“Smith”),        respectfully

requests      that     this        Honorable      Court      continue        the

Arraignment Hearing currently scheduled for August 29,

2012.      In   support       of    this    Motion,      Smith     states     as

follows:

1.     Defense counsel will be out of town on August 29,

2012, on a trip for which airline tickets have already

been purchased.

2.     The Assistant United States Attorney assigned to

this    case,    Braden    Boucek,         does    not    object      to   this

continuance.




                                       1

Case 3:11-cr-00194   Document 602     Filed 08/22/12   Page 1 of 1 PageID #: 1772
